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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


ESPINOZA ESCALONA, et al.,
ௗ
Plaintiffs–Petitionersௗ
                                                           Case No: 1:25-cv-00604
                          v.

NOEM, Secretary of the U.S. Department of
Homeland Security, in her official capacity, et al.,
ௗ
Defendants–Respondentsௗ



    PLAINTIFFS-PETITIONERS’ BRIEF IN SUPPORT OF EMERGENCY MOTION
                FOR STAY OF TRANSFER TO GUANTÁNAMO
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                                         INTRODUCTION

          This motion seeks an emergency stay for a group of ten noncitizens detained in immigration

custody in the United States to block their transfer to the military base on Guantánamo Bay, Cuba

(“Guantánamo”). The transfers could occur imminently and without warning. The motion does not

seek to block Plaintiffs-Petitioners’ (“Plaintiffs”) removal to their home country or any other

statutorily authorized destination, nor does the motion seek Plaintiffs’ release inside the United

States.

          Since February 4, 2025, the U.S. government has been unlawfully transferring people it

detained for civil immigration violations inside the United States to Guantánamo, offshoring their

immigration detention to an extraterritorial site that is synonymous with secrecy, due process

violations, and the evasion of judicial scrutiny. The transfer of immigration detainees apprehended

and detained in the United States to Guantánamo is unprecedented.

          The government has provided almost no information about the people it is sending there,

and beyond announcing plans to populate makeshift detention centers at Guantánamo with

upwards of 30,000 people, it has disclosed little else about its intentions. There is no operational

reason for detention in Guantánamo—as opposed to detention inside the territorial United States—

other than to limit access to counsel and rights, and to project a message of deterrence. The transfer

to, and detention at, Guantánamo is statutorily unauthorized and thus violates the Immigration and

Nationality Act (“INA”); is arbitrary and capricious in violation of the Administrative Procedure

Act (“APA”); and violates due process under the Fifth Amendment. Accordingly, Plaintiffs

respectfully seek an immediate stay of their transfer to Guantánamo pending resolution of this stay

motion, and a permanent stay pending the outcome of the case.




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                     FACTUAL AND PROCEDURAL BACKGROUND

I.     First Transfers to Guantánamo

       For the first time in history, the government is using the base at Guantánamo to detain

people who were apprehended and detained in immigration custody on U.S. soil. The Trump

Administration has announced plans to house upwards of 30,000 noncitizens there. See White

House, Expanding Migrant Operations Center at Naval Station Guantánamo Bay to Full Capacity

(Jan. 29, 2025) (“Guantánamo Memorandum”). 1 Since the first flight carrying immigrant detainees

to Guantánamo took off from Fort Bliss, Texas on February 4, 2025, the government has

transferred approximately 200 people, although the government has refused to provide information

about the numbers or nearly anything else except under court order. See Decl. of Juan Agudelo,

ECF No. 14-1, ¶ 10, Las Americas Immigr. Advocacy Ctr. v. Noem, No. 25-cv-418 (Feb. 20, 2025)

(hereinafter “ECF No. 14-1”); see also infra n.8 (describing further transfers).

       These transfers took place while government attorneys were still debating the legality of

the transfers and who would have custody of the detainees, 2 and officials were scrambling to

prepare the isolated naval base for tens of thousands of new detainees—a move that would increase

the base’s population by fivefold. 3 Cuba, which indisputably has legal sovereignty over

Guantánamo, issued an official statement rejecting these transfers to Guantánamo. See Ministry of




1
  Available at https://perma.cc/D2P3-45SN; see also Jeff Mason et al., Trump to Prepare Facility
at Guantanamo for 30,000 Migrants, Reuters (Jan. 29, 2025), available at https://perma.cc/2C2X-
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(“Cuba rejects U.S. decision to incarcerate migrants in the Guantánamo Naval Base”). 4

       The first wave of transfers included 178 people, reportedly all Venezuelan nationals with

final orders of removal. See ECF No. 14-1, ¶ 10. Initially, the government characterized these

individuals as “the worst of the worst,” as criminals who had crossed the border to bring “violence

and mayhem to our communities.” 5 The Department of Homeland Security (“DHS”) even posted

photos and a video of the transfer of the initial ten individuals on its website, depicting many of

their faces. 6 However, the government later admitted that many among the 178 individuals had no

criminal record other than an immigration violation or were apprehended on immigration charges

immediately upon entering the United States. 7 See, e.g., Decl. of Jennifer Venghaus, ECF No. 14-

3, ¶¶ 12–13, Las Americas Immigrant Advocacy Center v. Noem, No. 25-cv-418 (D.D.C. Feb. 20,

2025) (hereinafter “ECF No. 14-3”) (acknowledging 51 detainees were classified as “low threat”).

Plaintiffs’ declarations make clear that none of them are “high risk criminal aliens,” and indeed

none have gang ties or convictions for serious offenses. Of those transferred in the first wave, 127

people were held in Guantánamo’s military detention complex, in a facility known as “Camp 6.”

Id. ¶ 12. The remaining 51 were detained at the Migrant Operations Center (“MOC”), where

migrants interdicted on the high seas have historically been held. Id. ¶ 13.




4
  Available at https://perma.cc/M6R7-3QKM.
5
  Camilo Montoya-Galvez, U.S. Sending Nonviolent, “Low-Risk” Migrants to Guantánamo,
Despite Vow to Detain “the Worst” There, CBS News (Feb. 12, 2025), https://perma.cc/5HM5-
VVRM; Silvia Foster-Frau et al., Relatives and Record Cast Doubt on Guantanamo Migrants
Being ‘Worst of the Worst’, Washington Post (Feb. 16, 2025), available at https://perma.cc/W3CD-
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6
  See, e.g., News Release, PHOTO RELEASE: DHS Releases Images of the First Flight of
Criminal Aliens to Guantánamo Bay, Dep’t of Homeland Sec. (Feb. 4, 2025),
https://perma.cc/2RP3-9WP2.
7
  See supra n.5.
                                                 3
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       Since this first wave, there have been at least several more transfers to Guantánamo of

several nationalities, including people from Honduras, Colombia, El Salvador, Guatemala, and

Ecuador. 8

II.    Dangerous Conditions and Restricted Access to Counsel at Guantánamo

       The government is holding immigrant detainees in abusive, degrading, and dangerous

conditions at Guantánamo, while significantly restricting their access to attorneys and completely

cutting them off from the rest of the world.

       Although Plaintiffs had previously been held in large-bay, shared housing units while

detained in the United States, those held at Camp 6, on the military side of the base, are held in

solitary confinement. People detained at Camp 6 are confined in windowless two-by-four-meter

cells for at least 23 hours per day, unable to see the sun and forbidden from communicating with

each other. Decl. of Luis Alberto Castillo Rivera (“Castillo Decl.”), ¶ 8; Decl. of Jonathan

Alejandro Alviares Armas (“Alviares Armas Decl.”), ¶ 8; Decl. of Jose Daniel Simancas Rodriguez

(“Simancas Rodriguez Decl.”), ¶ 5; Decl. of Raul David Garcia (“Garcia Decl.”), ¶ 10; Decl. of

Tilso Ramon Gomez Lugo (“Gomez Lugo Decl.”), ¶ 8; Decl. of Jeferson Escalona (“Escalona

Decl.”), ¶ 5. Those detained at the MOC are confined to a small room nearly all day. Dec. of Yoiker

David Sequera (“Sequera Decl.”), ¶ 5; Garcia Decl. ¶ 9. Individuals are permitted, at most, one

hour of “recreation” every few days and often less. Castillo Decl. ¶ 8; Alviares Armas Decl. ¶ 9;

Gomez Lugo Decl. ¶ 8. “Recreation” for those in Camp 6 constitutes moving each individual from

their tiny indoor cell into a small cage within a larger cage in an enclosed yard. Castillo Decl. ¶ 8;




8
 Hamed Aleaziz & Carol Rosenberg, Trump Administration Moves More Migrants to Guantánamo
Bay, N.Y. Times (Feb. 23, 2025), https://perma.cc/5ST9-CKW4; Carol Rosenberg, Hegseth
Returns to Guantánamo, This Time as Defense Secretary, N.Y. Times (Feb. 25, 2025),
https://perma.cc/SDV4-28AY.
                                                  4
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Alviares Armas Decl. ¶ 9; Escalona Decl. ¶ 6. Those at the MOC were originally not even allowed

outside their rooms, Garcia Decl. ¶ 11, and then after some time were allowed just 15 minutes

outside each day, id.; Sequera Decl. ¶ 5. People at both the MOC and Camp 6 are primarily guarded

by military personnel. Castillo Decl. ¶ 6; Simancas Rodriguez Decl. ¶ 7; Gomez Lugo Decl. ¶ 8;

Sequera Decl. ¶ 6.

       Detainees are subject to degrading and abusive treatment at Guantánamo. Those in Camp

6 are shackled whenever they are escorted outside their cells, with at most five minutes’ reprieve

for one shower every couple of days. Castillo Decl. ¶ 9; Alviares Armas Decl. ¶ 11. They are also

strip searched every time they use the restroom. Castillo Decl. ¶ 9; Alviares Armas Decl. ¶ 6. Those

at the MOC were similarly strip-searched and shackled most of the time they were let outside the

room. Garcia Decl. ¶ 12; Sequera Decl. ¶ 6. Officers entered at random while people showered,

ordered them to spread their buttocks to be searched, and assaulted those who refused. Garcia Decl.

¶ 12. For those who speak out against their conditions or treatment, officers storm their cells and

aggressively restrain people to “punishment” chairs, where they are left for multiple hours.

Alviares Armas Decl. ¶ 15; Simancas Rodriguez Decl. ¶ 7; Escalona Decl. ¶ 4. People witnessed

one officer slam a radio against an individual’s hand, fracturing it. Castillo Decl. ¶ 13; Alviares

Armas Decl. ¶ 16; Simancas Rodriguez Decl. ¶ 6. Another individual was reportedly beaten up so

badly that he tried to harm himself twice in two weeks. 9 Detainees endure insults and taunting by

guards, all the while without any information about how much longer they would be subject to

these conditions. Castillo Decl. ¶ 12; Alviares Armas Decl. ¶ 16; Simancas Rodriguez Decl. ¶ 6;

Garcia Decl. ¶ 12.




9
 Sergio Martínez-Beltrán, Venezuelan men allege mistreatment while in detention in Guantánamo
Bay, NPR (Feb. 25, 2025), https://perma.cc/6GT2-GBJD.
                                                 5
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       Beyond the abusive treatment by guards, detainees also lack basic necessities. The quantity

of food provided is minimal. Castillo Decl. ¶ 7; Alviares Armas Decl. ¶ 12; Simancas Rodriguez

Decl. ¶ 8; Escalona Decl. ¶ 7. People detained at Guantánamo have reported losing as many as 10–

20 pounds over approximately two weeks. 10 Alviares Armas Decl. ¶ 12; Simancas Rodriguez Decl.

¶ 8; Castillo Decl. ¶ 7. People at Camp 6 only have showers every few days and wear the same

clothing throughout their time at Guantánamo. Alviares Armas Decl. ¶ 11. The temperatures in the

buildings are unregulated and extreme: people are freezing when the air conditioner was on,

because they were not provided enough blankets, and hot and humid when the air conditioner was

not working. Castillo Decl. ¶ 10; Alviares Armas Decl. ¶ 8; Garcia Decl. ¶ 10. Prison officials keep

the lights on at all hours, making it difficult to sleep. Castillo Decl. ¶ 10; Alviares Armas Decl. ¶

8; Simancas Rodriguez Decl. ¶ 5. And the guards would often deprive people of water as

punishment, for instance, when an individual seemed on the verge of suicide. Alviares Armas Decl.

¶ 13; Castillo Decl. ¶ 13.

       Detainees who seek medical treatment for existing conditions are denied care. One

individual sought medical treatment for a preexisting leg injury that caused significant pain, but

was told that there was nothing medical personnel could do for him because the base “did not have

the right tools and [was] waiting for them.” Castillo Decl. ¶ 11. When he asked again, medical staff

dismissed his concerns and offered only a generic topical cream. Id. One individual who was

believed to have a brain tumor received no treatment at Guantánamo, other than being given

sleeping pills. Simancas Rodriguez Decl. ¶ 9.

       The government has imposed restrictive protocols that make it virtually impossible for




10
  Claire Healy & Syra Ortiz Blanes, ‘Give us back our sons’: A look at the Venezuelan migrants
Trump sent to Guantanamo, Miami Herald (Feb. 27, 2025), https://perma.cc/J4LB-GXP9.
                                                 6
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immigrants held at Guantánamo to communicate with the outside world, including with counsel

and their families. After counsel filed lawsuit seeking basic access to counsel for the people

detained at Guantánamo, see Las Americas Immigrant Advocacy Center v. Noem (“Las Americas”),

No. 25-cv-418 (D.D.C. filed Feb. 12, 2025) (Nichols, J.), the government implemented a

barebones attorney access system. ECF No. 14-1, ¶¶ 12–17. That system, however, is woefully

deficient and falls short of standards governing U.S.-based detention centers and prisons. There is

no way for individuals or legal service organizations to confirm with the government whether an

individual is at Guantánamo. Decl. of Jennifer Babaie (“Las Americas Decl.”), ¶¶ 10–11. Attorneys

who suspect or somehow learn—as some have via news reports—that their clients have been

transferred to Guantánamo still have no information on how to establish contact with them,

whether by phone or otherwise. Id. ¶¶ 7, 10–11; see also Suppl. Decl. of Jennifer Babaie, ECF No.

17-2, ¶ 3, Las Americas (Feb. 24, 2025). Instead, detainees must initiate contact by requesting that

the government contact their attorneys for them. ECF No. 14-1, ¶ 13. Coordinating a call requires

a lengthy process of coordination with multiple agencies. ECF No. 14-3, ¶¶ 24–25. And, at the

MOC, only five individuals per day can have a phone call, at 20 minutes each. ECF No. 14-1, ¶

16. In-person visits are prohibited, and there is no process to facilitate the timely exchange of legal

documents. Las Americas Decl. ¶ 9.

       For those who do not already have counsel when they arrive at Guantánamo—which is

likely the majority—there are no accommodations for pre-representational consultation. Las

Americas Decl. ¶ 8. Counsel cannot request legal calls until they have a G-28 Notice of Entry of

Appearance Form on file; but many legal service providers require a legal screening interview to

determine whether an individual qualifies for relief and whether the organization is adequately

prepared to represent them. Id. Entering a G-28 Form obligates the attorney to represent the



                                                  7
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detainee. But prior to speaking with the detainee the attorney will have no idea what rights if any

the detainee wishes to assert, or if the detainee wants their representation. Requiring a G-28 in

advance of first contact effectively precludes organizations from offering services to anyone post-

transfer unless an attorney-client relationship existed before the transfer. Id.

          Instead, detainees can call a hotline to request an attorney. ECF No. 14-1, ¶ 13. But the

hotline has limited functionality and operational hours, and it is unclear whether the hotline is

running or whether detainees know how to access it. Decl. of Adonia Simpson, ECF No. 17-6, ¶¶

4–5, Las Americas (Feb. 24, 2025). And as described above, people are confined in their cells or

rooms for at least 23 hours a day, so it is unclear when or how they would see information about

the hotline. Supra at pp. 4–6. Detention officers at Guantánamo have repeatedly denied people’s

requests for legal calls and have distributed information about placing legal calls only hours before

deportation flights, telling individuals that no legal call will make any difference. Castillo Decl. ¶

15; Alviares Armas Decl. ¶ 10; Gomez Lugo Decl. ¶¶ 6, 9; Garcia Decl. ¶ 9; Escalona Decl. ¶ 9;

Sequera Decl. ¶ 8. And there is no way at all for families and the detainees to contact one another.

Castillo Decl. ¶ 14; Alviares Armas Decl. ¶ 10; Garcia Decl. ¶ 15; Escalona Decl. ¶ 9; Gomez Lugo

Decl. ¶ 6; Sequera Decl. ¶ 8.

          In light of abusive conditions at Guantánamo, lack of information about when their

confinement would end, and utter isolation from the world, it is not surprising that several

individuals attempted suicide at Guantánamo over the span of a few weeks. 11 Alviares Armas Decl.

¶ 13; Simancas Rodriguez Decl. ¶¶ 5, 10; Garcia Decl. ¶ 14. People previously detained at

Guantánamo report psychological and physical trauma, including inability to sleep, nightmares,




11
     See supra n.9.
                                                  8
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scars from self-harm, and severe weight loss. 12 Castillo Decl. ¶¶ 18–20; Alviares Armas Decl. ¶¶

17–19; Simancas Rodriguez Decl. ¶¶ 13–15; Garcia Decl. ¶ 15.

III.   Continued Transfers to Guantánamo Despite No Operational Justification

       On February 20, only days after counsel filed the Las Americas lawsuit seeking attorney

access, the government abruptly emptied the base by deporting 177 people to Venezuela via

Honduras and returning one individual to the United States, whose case was reopened after they

were sent to Guantánamo. See Notice Regarding Removals, ECF No. 15, Las Americas (Feb. 20,

2025); see also Escalona Decl. ¶ 10 (describing relief from case being reopened and returning to

the United States). However, three days later, the government resumed transfers with another group

of 17 people to Guantánamo, 13 followed by another flight two days later. 14 Government officials

have stated that the administration intends to continue such transfers. 15

       There is no operational justification for using Guantánamo to detain noncitizens transferred

from the United States. As a former ICE Chief of Staff explains, the transfer of immigration

detainees to Guantánamo is unnecessary for the operational reasons that typically drive ICE

transfers, such as ensuring security, expanding detention capacity, reducing costs, or streamlining

removals. See Decl. of Deborah Fleischaker (“Fleischaker Decl.”), ¶ 42 (use of Guantánamo to

detain immigrants “is an inefficient, expensive, and illogical choice when considering ICE’s

detention and operational objectives”). In fact, all of these objectives are better met by focusing




12
   Id.
13
    @US-TRANSCOM, X.com (Feb. 23, 2025, 1:14 PM), https://perma.cc/WV3F-QCAZ
(confirming arrival of new flight of immigrant detainees).
14
   See supra n.8.
15
   Hailey Bullis, Guantánamo Bay Still Being Used to Detain Migrants Despite Transfers: Tom
Homan, Wash. Examiner (Feb. 22, 2025), https://perma.cc/6QV9-SG5S (President Trump’s so-
called “Border Czar” confirming that the administration will continue to use Guantánamo to detain
noncitizens”).
                                                  9
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on detention in the United States, where there is already adequate available or readily obtainable

capacity. Id. ¶¶ 11–24 (discussing detention capacity and costs in United States), 25–35 (added

difficulty of facilitating rapid removals through Guantánamo), 36–41 (detention at Guantánamo

not necessary to ensure safety and security). Just a few days ago, the government entered into more

contracts for even more bed space within the United States—adding detention capacity to an

already-expansive network. 16 Rather, Defendants’ public statements make clear that the reason for

the transfers to Guantánamo is to deter future migration and intimidate noncitizens already present

in the United States into self-deporting or accepting removal to a dangerous third country rather

than facing the terrifying prospect of detention at Guantánamo. See infra Section I.C.ii.

IV.    Plaintiffs at Risk of Transfer to Guantánamo

       Plaintiffs are immigrant detainees who fit the profile of people that the government has

targeted for transfers—individuals with final orders of removal, including Venezuelans. 17 In its

initial transfer, the government targeted men with tattoos, regardless of whether they were gang-

related. The government also claimed to target “criminal aliens,” even though many only had

immigration-related violations. 18

       Plaintiffs Maiker Alejandro Espinoza Escalona, Jackson Manuel Villa Wilhelm, Jorge

Alberto Castillo Cerrano, Janfrank Berrios Laguna, Alejandro Jose Pulido Castellano, Josue de

Jesus Torcati Sebrian, Walter Estiver Salazar, Hijran Malik, Ghulam Muhammad, and MD Rayhan




16
   News Release, CoreCivic Announces Four New Contract Modifications to Add Capacity for
U.S. Immigration and Customs Enforcement, CoreCivic (Feb. 27, 2025), https://perma.cc/9HNG-
WEGB.
17
    Hamed Aleaziz, et al., Trump Administration Abruptly Clears Out Migrants It Sent to
Guantánamo, N.Y. Times (Feb. 20, 2025), https://perma.cc/V6QY-GSZS (noting that
“Congressional staff members were told in a briefing that the only criteria to be sent to the base
were being Venezuelan with a final removal order.”).
18
   See supra n.5.
                                                10
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are ten noncitizens detained across Texas, Arizona and Virginia who received final orders of

removal after seeking refuge in the United States. Decl. of Maiker Alejandro Espinoza Escalona

(“Espinoza Escalona Decl.”), ¶¶ 2–3; Decl. of Jackson Manuel Villa Willhelm (“Villa Wilhelm

Decl.”), ¶¶ 2–3; Decl. of Jorge Alberto Castillo Cerrano (“Castillo Cerrano Decl.”), ¶¶ 2, 5, 8;

Decl. of Janfrank Berrios Laguna (“Berrios Laguna Decl.”), ¶¶ 2–3; Decl. of Alejandro Luis Pulido

Castellano (“Pulido Castellano Decl.”), ¶¶ 2–4; Decl. of Josue de Jesus Torcati Sebrian (“Torcati

Sebrian Decl.”), ¶¶ 2–3; Decl. of Walter Estiver Salazar (“Salazar Decl.”), ¶¶ 2–4; Decl. of Hijran

Malik (“Malik Decl.”), ¶¶ 2–3; Decl. of Ghulam Muhammad (“Muhammad Decl.”), ¶¶ 2–3; Decl.

of MD Rayhan (“Rayhan Decl.”), ¶¶ 2–3.

       They all are at risk of being transferred to Guantánamo because of a combination of their

final orders, nationality, and/or ICE’s frequently false allegations of gang membership and

criminality based on their tattoos. Espinoza Escalona Decl. ¶¶ 4–5; Villa Wilhelm Decl. ¶¶ 4–5;

Castillo Cerrano Decl. ¶¶ 11–12; Berrios Laguna Decl. ¶¶ 4–6; Pulido Castellano Decl. ¶¶ 5–7;

Torcati Sebrian Decl. ¶¶ 4–5; Salazar Decl. ¶¶ 5–6; Malik Decl. ¶¶ 4–5; Muhammad Decl. ¶¶ 4–

5; Rayhan Decl. ¶¶ 4–5.

       As recounted by two Plaintiffs, ICE officers have threatened multiple Venezuelans with

transfer to Guantánamo if they do not agree to deportation to Mexico. Berrios Laguna Decl. ¶ 4;

Torcati Sebrian Decl. ¶ 5. Among the Plaintiffs includes a father of a two-year-old daughter who

is in the custody of the Office of Refugee Resettlement; his attorneys have already had to advocate

to prevent his transfer to Guantánamo, leading him to be pulled off the bus just before being

transferred with the first group of men sent to the base. Espinoza Escalona Decl. ¶ 7; Decl. of

Jennifer Babaie, ECF No. 3-6, ¶ 19, Las Americas (Feb. 12, 2025). It also includes several men

with family ties in the United States, see, e.g., Villa Wilhelm Decl. ¶¶ 2–3; Castillo Cerrano Decl.



                                                11
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¶ 4, and one with a pending application for Temporary Protected Status, Torcati Sebrian Decl. ¶ 3.

                                       LEGAL STANDARD

        The court has “inherent” power to preserve the status quo while it assesses the legality of

a particular action. Nken v. Holder, 556 U.S. 418, 426 (2009) (citation and quotation marks

omitted). In considering a stay, the court should consider “(1) whether the stay applicant has made

a strong showing that he is likely to succeed on the merits; (2) whether the applicant will be

irreparably injured absent a stay; (3) whether issuance of the stay will substantially injure other

parties interested in the proceedings; and (4) where the public interest lies.” Id. at 424 (citation and

quotation marks omitted); see also In re NTE Conn., LLC, 26 F.4th 980, 987–88 (D.C. Cir. 2022).

The first two factors “are the most critical.” Nken, 556 U.S. at 434. Under these factors, Plaintiffs

are entitled to a stay.

                                            ARGUMENT

I.      PLAINTIFFS ARE LIKELY TO SUCCEED ON THE MERITS.

        There is no statutory authority to transfer people with final orders of removal from U.S.

soil to Guantánamo, nor to detain them there. Infra Section I.A. The government’s actions are also

arbitrary and capricious under the APA. Infra Section I.B. And even apart from the statutory

violations, the transfers to, and detention at, Guantánamo additionally violate substantive due

process under the Fifth Amendment. Infra Section I.C. 19




19
   The government claims that it is only transferring detainees with final orders of removal to
Guantánamo, but has not stated that that future transfers will be so limited. Because Plaintiffs here
have final orders, this motion does not address the illegality of transferring noncitizens without
final orders of removal to Guantánamo.
                                                  12
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       A.      Transferring Individuals from the United States to Guantánamo Is
               Impermissible Under the INA.

       The statutory analysis begins with the undisputed point that Cuba maintains legal

sovereignty over Guantánamo and the base is not part of the United States for purposes of the

Immigration and Nationality Act (INA). The INA’s text, and an Office of Legal Counsel opinion

interpreting that text, leave no doubt on that point. Indeed, the government’s consistent position

for decades has been that the military base at Guantánamo is outside the United States for purposes

of the INA.

       The INA defines the “United States” as “the continental United States, Alaska, Hawaii,

Puerto Rico, Guam, the Virgin Islands of the United States, and the Commonwealth of the Northern

Mariana Islands.” 8 U.S.C. § 1101(a)(38). Guantánamo is not included in the list. See Ali v. Trump,

959 F.3d 364, 374 n.3 (D.C. Cir. 2020) (Randolph, J., concurring) (“Guantánamo is not part of the

United States under the Immigration and Nationality Act, 8 U.S.C. § 1101(a)(38).”).

       And the government’s consistent position for decades has been that “[b]ecause

Guantánamo Bay is not included in this statutory definition,” the government “do[es] not believe

that it is part of the United States for the purposes of the INA.” Off. of Legal Counsel, Status of

Guantánamo Bay 1 (Oct. 27, 1981); 20 see also Br. for Pets., 1992 WL 541276, at *31, Sale v.

Haitian Ctrs. Council, Inc., 509 U.S. 155 (1993) (United States arguing that Guantánamo is

territory “outside the United States”); Pet. for Cert., 2004 WL 424049, at *8, Bush v. Gherebi, 542

U.S. 952 (2004) (contending that Guantánamo is not “within any territory over which the United

States is sovereign” (citation and quotation marks omitted)). 21




20
  Available at https://perma.cc/86DE-CACF.
21
  Unlike this case, Sale involved migrants apprehended on the high seas, outside of U.S. territory,
and not individuals transferred from inside the United States. 509 U.S. at 159.
                                                13
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        Given that Guantánamo is not “the United States” for purposes of the INA, the INA does

not permit the government to transfer the detainees to Guantánamo. That is true whether the

government characterizes the transfers as effectuating removals to Guantánamo, infra Section

I.A.i, or as simply detention pending the detainees’ ultimate removal to another country, infra

Section I.A.ii.

                  i.   The INA Does Not Permit Removal of Plaintiffs to Guantánamo.

        Under the INA and longstanding case law, transferring an immigration detainee subject to

a final order of removal outside the United States constitutes a removal. And the INA requires that

for an individual with no ties to a country to be lawfully removed there, the receiving country must

agree to accept such individuals into their territory. 8 U.S.C. § 1231(b)(2)(E)(vii). Because

Plaintiffs have no ties to Cuba, and Cuba has not agreed to accept non-Cuban nationals with no

prior ties to Cuba, supra pp. 2–3, Plaintiffs removal to Guantánamo would be illegal under the

INA.

        A noncitizen with a removal order who departs the United States, whether voluntarily or

by the government’s actions, has been removed. The INA makes clear that “any [noncitizen]

ordered deported or removed . . . who has left the United States, shall be considered to have been

deported or removed.” See 8 U.S.C. § 1101(g). “The plain statutory text clearly envisions that any

departure is sufficient to execute a removal order, regardless of how long the alien remains outside

the United States or to where the alien departs.” Nicusor-Remus v. Sessions, 902 F.3d 895, 899 (9th

Cir. 2018) (“All the statute requires to execute the removal order is for the alien to ‘le[ave] the

United States.’” (quoting 8 U.S.C. § 1101(g)); see also United States v. Sanchez, 604 F.3d 356,

359 (7th Cir. 2010) (“[R]emoval simply means ‘the transfer or moving of a person or thing from




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one location, position, or residence to another’” (quoting Black’s Law Dict. 1409 (9th ed. 2009)).

Accordingly, Plaintiffs have been “removed” from the United States to Guantánamo, Cuba.

       Because the transfers constitute a removal, they must comply with the specific statutory

framework for where a noncitizen may be removed. 8 U.S.C. § 1231(b)(2); see also id.

§ 1231(b)(1). The Supreme Court has summarized Section 1231(b)(2)’s statutory requirements as

follows:

       The statute thus provides four consecutive removal commands: (1) An alien shall
       be removed to the country of his choice (subparagraphs (A) to (C)), unless one of
       the conditions eliminating that command is satisfied; (2) otherwise he shall be
       removed to the country of which he is a citizen (subparagraph (D)), unless one of
       the conditions eliminating that command is satisfied; (3) otherwise he shall be
       removed to one of the countries with which he has a lesser connection (clauses (i)
       to (vi) of subparagraph (E)); or (4) if that is “impracticable, inadvisable, or
       impossible,” he shall be removed to “another country whose government will
       accept the alien into that country” (clause (vii) of subparagraph (E)).

Jama v. Immigr. & Customs Enf’t, 543 U.S. 335, 341 (2005). Under this scheme, removal to

Guantánamo is plainly unlawful. As set out in § 1231(b)(2), the government must first try to

remove an individual to their country of choice, followed by their country of citizenship. Jama,

543 U.S. at 341. Plaintiffs have not designated Cuba as their country of choice, nor are Plaintiffs

Cuban citizens. Nor do Plaintiffs have any prior connection to Guantánamo (or Cuba). Therefore,

to remove Plaintiffs to Guantánamo, the government must first establish that it is “‘impracticable,

inadvisable, or impossible,’” to remove Plaintiffs to another country with which they have a prior

relationship. Id. (quoting 8 U.S.C. § 1231(b)(2)(E)(vii)). And even if the government could

establish that the detainees cannot be removed to their home country or to one of the other countries

permissible under the INA, the statutory scheme further requires that the country where they are

sent—here, Cuba—accept Plaintiffs. Id.




                                                 15
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       The government does not claim that removal to Plaintiffs’ home countries or to some other

appropriate country is impracticable, inadvisable, or impossible; indeed, the government can

conduct removals to the countries from which Plaintiffs hail. See, e.g., Notice Regarding

Removals, Las Americas, ECF No. 15 (Feb. 20, 2025). Nor does the government suggest that Cuba

has consented to the removal of detainees to that country. In fact, as noted above, Cuba has

expressly rejected the government’s removals. See supra pp. 2–3. In short, because the transfers

constitute “removals” under the INA, and Cuba has not consented to Plaintiffs’ removal, Plaintiffs

cannot legally be transferred to Guantanamo.

               ii.     Detaining Individuals With Final Orders in Guantánamo Is Illegal
                       Under the INA.

       When pressed in the Las Americas litigation, the government has suggested that the

transfers to Guantánamo are not removals. Instead, the government claims it is merely detaining

noncitizens at Guantánamo under 8 U.S.C. § 1231 until their removals can be accomplished.

Specifically, it cites to Section 1231(g), which directs the Attorney General to “arrange for

appropriate places for detention for [noncitizens] detained pending removal . . . .”). See

Respondents’ Opp. to Mot., ECF. No. 14 at 20, Las Americas (Feb. 20, 2025) (hereinafter “ECF

No. 14”); 22 see also id. at 6 (“The actions taken pursuant to the President’s Memorandum to

transfer and detain immigration detainees, including at NSGB [Naval Station Guantánamo Bay],

fall within . . . § 1231(g).”). But as discussed above, these transfers constitute removals under the

INA, regardless of how the government chooses to characterize them. 23 In any event, even if these



22
   Page citations are to the pagination in the brief.
23
   Public evidence, including comments from the President, also calls that assumption starkly into
question as a factual matter. See Bernd Debusmann Jr. & Will Grant, Trump Says US Will Send
Some Migrants to Guantanamo Bay, BBC (Jan. 29, 2025), https://perma.cc/7NBB-W32V (“Some
of them are so bad we don’t even trust the countries to hold them, because we don’t want them coming
back. . . . So we’re going to send them to Guantanamo . . . it’s a tough place to get out.”).
                                                 16
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transfers were not “removals,” detention at Guantánamo would still be illegal because the

government lacks statutory authority to detain noncitizens with final orders outside the United

States.

          No INA provision, including 8 U.S.C. § 1231 on which the government relies, authorizes

the government to take noncitizens apprehended in the United States and who have received final

orders of removal, and detain them outside of the United States. This omission makes sense

because detention is authorized during the removal period to help effectuate the individual’s

removal from the country, not to detain them in a third country. Nor does any other provision of

the INA allow for extraterritorial detention. See 8 U.S.C. §§ 1225(b), 1226(a), 1226(c), 1231(a).

And this lack of extraterritorial detention authority is consistent with the overall statutory scheme;

otherwise, the U.S. government could contract with any foreign government to detain individuals,

who have been ordered removed, after removal from the United States, even though the only two

justifications for detention are to prevent flight risk or danger pending removal. See Zadvydas v.

Davis, 533 U.S. 678, 690–91 (2001).

          In sum, whether the transfers to Guantánamo are considered removals or detention pending

removal, they violate the INA. This case can therefore be decided on narrow statutory or APA

grounds, without reaching the constitutional questions.

          B.     Defendants’ Implementation of President Trump’s Memorandum Is Arbitrary
                 and Capricious

          Defendant agencies’ policies implementing President Trump’s Guantánamo Memorandum

are also arbitrary and capricious in violation of the APA. 5 U.S.C. § 706(2)(A). 24 Indeed, not only


24
   If Defendants have written guidance on the implementation of the President’s Memorandum,
they must produce that. But even if the agencies are implementing the Memorandum without
written guidance, they must of course comply with the APA. See Hisp. Affs. Project v. Acosta, 901
F.3d 378, 387 (D.C. Cir. 2018) (conducting APA review of agency’s unwritten “policy and

                                                 17
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is Defendants’ implementation of the Guantánamo policy arbitrary on its own, but it goes well

beyond the President’s directive in his Memorandum.

       First, the agencies’ actions are contrary to the text of the Memorandum because detention

at Guantánamo is not limited to the MOC and encompasses low-risk individuals. Second, the

agencies started transferring people to Guantánamo without setting up the requisite infrastructure

for access to counsel or safe and humane detention conditions. And finally, the agencies provided

no explanation for departing—for the first time in history—from their practice of not sending

immigration detainees to Guantánamo from facilities inside the United States.

       In implementing President Trump’s Memorandum, the agencies have arbitrarily departed

from its plain text. See Gomez v. Trump, 485 F. Supp. 3d 145, 194 (D.D.C. 2020) (finding agency

policy arbitrary and capricious where it was not “compelled by the [presidential] Proclamations”).

The Memorandum specifically directs the Departments of Defense and Homeland Security to

“expand the Migrant Operations Center at [Guantánamo]” to “provide additional detention space

for high-priority criminal aliens.” See Guantánamo Memorandum, supra n.1. Yet the agencies are

detaining individuals not just at the MOC, but indeed, primarily at Camp 6 in the military prison.

ECF No. 14-1, ¶ 10. Defendants have stated that they are only holding “high threat illegal aliens”

at Camp 6 while “low and medium threat illegal aliens” are detained at the MOC, ECF No. 14-3,

¶ 11, but the Memorandum is clear: DOD and DHS are only to expand the MOC—not Camp 6—

even for “high priority” immigration detainees, see Guantánamo Memorandum, supra n.1.

Moreover—and despite their public statements—Defendants have not limited detention at

Guantánamo to “high threat” individuals. They have conceded that they are sending nonviolent,




practice”); Aracely, R. v. Nielsen, 319 F. Supp. 3d 110, 138 (D.D.C. 2018) (“agency action need
not be in writing to be judicially reviewable as a final action”); id. (collecting cases).
                                               18
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“low-risk” immigrant detainees who lack serious criminal records or any at all. See supra n.5. And

Defendants themselves have characterized some of the detainees that have been detained at the

MOC as “[l]ow . . . threat.” ECF No. 14-3, ¶ 11.

       The agencies’ decision to start transferring immigrants to Guantánamo within days of the

President’s directive is likewise arbitrary and capricious because it failed to “engage in reasoned

decisionmaking” and “entirely fail[ed] to consider an important aspect of the problem”—namely,

how they could safely house hundreds, if not thousands, of detainees and provide them with

adequate communications and attorney access without first setting up the requisite infrastructure.

Fred Meyer Stores, Inc. v. NLRB, 865 F.3d 630, 638 (D.C. Cir. 2017) (finding agency action

arbitrary and capricious where it failed to “grapple with contrary evidence”); Am. Wild Horse Pres.

Campaign v. Perdue, 873 F.3d 914, 923 (D.C. Cir. 2017) (agency’s failure to consider potential

environmental significance of its actions was arbitrary and capricious).

       Notably, while the Memorandum directs DOD and DHS to “take all appropriate actions to

expand” the MOC “to full capacity to provide additional detention space,” it nowhere requires

them to start transferring individuals to Guantánamo, much less do so prior to such expansion and

the establishment of proper detention conditions. Guantánamo Memorandum, supra n.1 But that

is precisely what the agencies did. They started moving people to Guantánamo before creating

adequate detention conditions, access to counsel, and communication with family. ECF No. 14 at

15 (describing transfers to Guantánamo as “developing operation”). As a result, the detainees have

been subjected to punitive conditions and wholly inadequate access to counsel. See supra pp. 4–9.

Initially, they were held under a total blackout, and only after an initial access lawsuit did

Defendants implement a barebones and wholly deficient phone system. See supra pp. 7–8; see also

Gomez Lugo Decl. ¶¶ 6–7; Castillo Dec. ¶¶ௗ14–15; Sequera Decl. ¶ 8. The agencies have offered



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no reason as to why transfers to Guantánamo needed to start happening five days after the

Memorandum was issued, where the Memorandum itself imposes no such timeline and where

agencies did not establish even basic access or detention protocols for the individuals it was

transferring. 25 Nor have agencies explained why they must create “additional” detention space at

Guantánamo when there is still available space in the United States. Fleischaker Decl. ¶¶ 11–18

(former ICE Chief of Staff explaining why no legitimate rationale can explain the use of

Guantánamo given the lack of any security need, the exorbitant cost, and the complicated

logistics). Nor, finally, have Defendants ever provided a coherent rationale for why some detainees

with final orders are removed directly to their home countries while others are flown to

Guantánamo. This failure to engage in “reasoned decisionmaking” and fully “consider an

important aspect of the problem” renders their actions arbitrary and capricious. Jicarilla Apache

Nation v. U.S. Dep’t of Interior, 613 F.3d 1112, 1121, 1122 (D.C. Cir. 2010); see also TikTok Inc.

v. Trump, 507 F. Supp. 3d 92, 110, 112 (D.D.C. 2020) (reviewing agency action “effectuat[ing] an

executive order” and finding it to be arbitrary and capricious where it failed to consider

alternatives).

        Finally, agencies “must provide a reasoned explanation for [a] change” in policy. Nat’l

Women’s L. Ctr. v. Off. of Mgmt. & Budget, 358 F. Supp. 3d 66, 89 (D.D.C. 2019) (cleaned up); see

Am. Fed’n of Gov’t Emps., AFL-CIO v. Fed. Lab. Rels. Auth., 25 F.4th 1, 5 (D.C. Cir. 2022) (change

“was not sufficiently reasoned”). Yet here, the agencies have offered only illogical and inadequate

explanations for their unprecedented departure from the longstanding practice of not



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   See also Haley Britzky & Priscilla Alvarez, US Halts Plan to House Migrants in Tents at
Guantanamo Amid Concerns Over Conditions, CNN.com (Feb. 24, 2025),
https://perma.cc/9NVV-D9U6 (noting that Trump administration has halted plans to place
immigrant detainees in tent structures because they don’t currently meet detention standards set
by ICE).
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extraterritorially detaining noncitizens at Guantánamo who were apprehended and detained in the

United States.

       C.        Transfer To, And Detention In, Guantánamo Will Violate Plaintiffs’
                 Substantive Due Process Rights.

       The government’s policy of transferring immigration detainees to Guantánamo and

detaining them under extreme conditions of isolation and deprivation constitutes impermissible

punishment in violation of the Due Process Clause. Immigration detention is “undisputedly civil—

i.e., non-punitive in nature.” R.I.L-R. v. Johnson, 80 F. Supp.3d 164, 187 (D.D.C. 2015). Those

held in immigration detention therefore have a due process right not to be subjected to any

“condition, practice, or policy [that] constitutes punishment.” Block v. Rutherford, 468 U.S. 576,

583 (1984).

       The test of whether civil detention “amount[s] to punishment” is if it is “imposed for the

purpose of punishment,” or is not “rationally related to a legitimate nonpunitive governmental

purpose,” or “appears excessive in relation to that purpose.” Bell v. Wolfish, 441 U.S. 520, 538,

561 (1979); see also Kingslev v. Hendrickson, 576 U.S. 389, 398-99 (2015).

       Defendants’ transfer of immigration detainees to Guantánamo is not justified by any

legitimate nonpunitive governmental purpose. Detention on Guantánamo is far more costly,

inefficient, and logistically complex than detention in the United States. See infra Section I.C.i.

Instead, government officials have touted detention at Guantánamo as a way to deter would-be

migrants and to punish those already here. But these are impermissible grounds for depriving civil

immigration detainees of their liberty, especially in punitive conditions of confinement that are

comparable to, if not worse than, conditions for convicted prisoners. See infra Section I.C.ii–iii.




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                i.     Defendants’ Policy of Detaining Plaintiffs at Guantánamo Serves No
                       Legitimate Governmental Purpose.

         Defendants have claimed that transferring Plaintiffs to Guantánamo and detaining them

there is necessary to meet detention capacity needs, to facilitate removals, and to ensure safe and

secure detention of detainees whom it has labeled as highly dangerous. See ECF No. 14 at 6

(detainees were “transferred to NSGB as a staging point in route to completing their removals”);

see also ECF No. 14-1, ¶ 6 (NSGB detention is “necessary” due to “ever-evolving availability of

detention space”); id. ¶ 5 (detainees placed in “Camp VI, which houses aliens who are considered

to be a high security threat” and many were “believed to be part of the transnational criminal

organization ‘Tren de Aragua’”). But, as a former ICE Chief of Staff explains, none of these

rationales withstand examination. See generally Fleischaker Decl. ¶¶ 9–42. ICE has no shortage

of detention capacity available in the United States, and numerous avenues to expand detention

capacity within the United States.

         Moreover, detention at Guantánamo is far more costly and logistically complex than

detaining people at facilities inside the U.S. Fleischaker Decl. ¶ 18 (“Operational considerations,

like cost and logistics, weigh in favor of using these traditional methods to expand capacity, rather

than detaining people on Guantanamo.”); Jonathan Hafetz & Rebecca Ingber, What Just

Happened: At Guantanamo’s Migrant Operation Center, Just Security (Feb. 6, 2025) (housing a

detainee at Guantánamo is “categorically and exponentially more expensive” than in the United

States). 26 The island’s remote location requires that most supplies must be brought in at a

substantial cost. Fleischaker Decl. ¶ 20. And staffing a detention center on a foreign island takes

many more personnel than would be required at an ICE detention facility of a similar size in the




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United States. Id. ¶ 21. All of that adds up to expensive beds. See Chris Opila, Sending Migrants

to Guantánamo Bay Is a Costly, Abusive Shift in Immigration Detention, Immigr. Impact (Feb. 7,

2025) 27; see also Peter Baker, Trump Says ‘It’s Crazy’ to Spend $13 Million Per Inmate at

Guantánamo, N.Y. Times (Sept. 19, 2019) 28(quoting President Trump saying that “[i]t costs a

fortune to operate” Guantánamo). For the same reason, new temporary or permanent construction

on Guantánamo is much more expensive and complex than the same projects in the United States.

Fleischaker Decl. ¶ 17. Using Guantánamo as a staging area for removal flights, as the government

claims it is doing, is also illogical, given the logistical complexity. 29

        Nor is transfer to Guantánamo required to ensure safe and secure detention of noncitizens.

Defendants have grossly overstated the danger posed by the detainees—including DHS Secretary

Kristi Noem describing them as “the worst of the worst.” News Release, PHOTO RELEASE: DHS

Releases Images of the First Flight of Criminal Aliens to Guantanamo Bay, Dep’t of Homeland

Sec., supra n.6. As noted, Defendants have admitted that the initial wave of detainees included

“low threat” individuals, who have no criminal record other than an immigration violation, as well

as those apprehended on immigration charges immediately upon entering the United States See

supra n.5. Defendants’ security rationale is further undermined by their own records, which show



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   The scheme requires additional flights that would be entirely unnecessary if the government
staged and removed noncitizens directly from the United States. Fleischaker Decl. ¶¶ 25–35. In
fact, ICE did exactly that on February 10, when it removed 190 detainees directly from Texas to
Venezuela. ECF No. 14-1, ¶ 11. On the same day, it transferred 15 Venezuelans with final orders
of removal from Texas to Guantánamo. Id. ¶ 8. The government had to pay for that flight, pay to
detain those individuals in Guantánamo’s expensive beds for nearly two weeks, then pay for the
“deportation” flight out of Guantánamo. See Caitlyn Burchett, Hegseth Tours Guantanamo as
Lawmakers Question Damage to Military from Detaining Migrants There, Stars and Stripes (Feb.
25, 2025), https://perma.cc/2SJH-FWJT (C-17 military planes used to fly detainees to Guantánamo
cost “an estimated $28,000 per flight hour compared to $8,577 per flight hour for a civilian
aircraft”).
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that many detainees were housed in the “low threat” MOC. See ECF No. 14-3, ¶¶ 11, 13. And even

those detainees held at Camp 6 were held in less restrictive ICE detention conditions in El Paso,

with access to phones and ability to move freely about their housing unit, prior to transfer. See

Castillo Decl. ¶ 8; Alviares Armas Decl. ¶ 9; Simancas Rodriguez Decl. ¶ 2. Moreover, according

to ICE’s former Chief of Staff, ICE detention facilities in the United States are fully equipped to

detain any noncitizen, regardless of their security classification. Fleischaker Decl. ¶¶ 38–40. Every

ICE detainee is assessed a custody level, and ICE detention contracts require facilities to detain an

individual according to their designated custody level. Id. ¶ 39. And ICE facilities have Special

Management Units designed to house high-risk detainees. Id.

       At bottom, none of Defendants’ rationales can neither explain nor justify the transfer of

detainees to Guantánamo. Id. ¶ 10. “It is an inefficient, expensive, and illogical choice when

considering ICE’s detention and operational objectives.” Id. ¶ 42.

       ii.     Defendants Are Transferring to and Detaining at Guantánamo for Illegitimate
               Purposes.

       Left with no alternative logical reason for detaining noncitizens at Guantánamo, the court

must give credence to Defendants’ own public statements. Defendants explain that their detention

of immigrants at one of the world’s most notorious prison sites is to frighten immigrants, deter

migration, induce self-deportation, and coerce deportation to dangerous third countries. But these

are not legitimate grounds for civil detention. See Kansas v. Crane, 534 U.S. 407, 412 (2002)

(explaining that civil detention cannot be a “mechanism for retribution or general deterrence –

functions properly those of criminal law”).

       Defendants’ purpose in using Guantánamo is evident from their statements and actions.

The President’s Memorandum expressly states that it was issued “in order to halt the border

invasion”—in other words, to deter migration. See supra n.1. Secretary Hegseth said that

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Guantánamo “represents deterrence,” and the Guantánamo mission is “central . . . to the message

we’re sending to the world – which is that our border is closed.” See Matthew Olay, Hegseth Visits

Guantanamo Bay, Engages with Troops, DOD News (Feb. 26, 2025); 30 see also DOD Rapid

Response, X.com (Feb. 26, 2025, 7:14 PM ET) (quoting Secretary Hegseth: “If you break the law,

if you are a criminal, you could find your way to Guantanamo Bay. You don’t want to be at

Guantanamo Bay.”). 31 Likewise, after visiting Guantánamo, DHS Secretary Noem posted a

warning on social media that she “was just in Cuba” and noncitizens should “not come to this

country or we will hunt you down, find you, and lock you up.” Sec’y Kristi Noem, X.com (Feb.

9, 2025, 12:12 PM ET); 32 see also Zolan Kanno-Youngs et al., Trump Plans to Use Military Sites

Across the Country to Detain Undocumented Immigrants, N.Y. Times (Feb. 21, 2025) (quoting

Stephen Miller, the President’s Deputy Chief of Staff, when discussing Guantánamo as saying:

“You do not come here illegally. You will not get in.”). 33

       President Trump has been equally explicit. In explaining the decision to detain immigrants

at Guantánamo, he stated, “we don’t want them coming back,” “. . . . [s]o we’re going to send them

to Guantanamo . . . it’s a tough place to get out.” Bernd Debusmann Jr. & Will Grant, Trump Says

US Will Send Some Migrants to Guantanamo Bay, BBC (Jan. 29, 2025). 34 And ICE officers have

used the threat of transfer to Guantánamo to coerce Venezuelans to accept deportation to Mexico,

telling them that they would be transferred to Guantánamo “if they didn’t sign.” See Berrios

Laguna Decl. ¶ 4 (“February 6, 2025, ICE went around asking Venezuelans in my unit to sign off

on deportation to Mexico . . . ICE told me and the others who refused to sign that they would



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transfer us to GTMO if we did not agree to be deported to Mexico.”); Torcati Sebrian Decl. ¶ 5

(describing how ICE officers went to housing unit twice “urging us to sign off on deportation to

Mexico, or risk being sent to Guantánamo”).

         The government’s barrage of publicity surrounding the transfers (despite the government’s

longstanding privacy protocols for immigration detainees) is further evidence that it is using

Guantánamo for these impermissible purposes. See ICE Operations Manual, ICE/DRO Detention

Standard 4 (2008) at § V.F.1 (DHS treats any personally identifiable information in its records as

subject to the Privacy Act). 35 Defendants have widely circulated photos of detainees—including

those showing detainees’ faces—arriving in Guantánamo in handcuffs and shackles in press

releases and on social media. See News Release, PHOTO RELEASE: DHS Releases Images of

the First Flight of Criminal Aliens to Guantánamo Bay, Dep’t of Homeland Sec., supra n.6.

Secretary Noem has repeatedly made blanket assertions that detainees are “the worst of the worst”

including murderers, rapists, pedophiles, child traffickers, and drug traffickers. Sec’y Kristi Noem,

X.com (Feb. 9, 2025, 12:12 PM). 36 The flood of publicity surrounding the transfers, especially

publicly identifying detainees and painting them all as gang members and dangerous criminals, is

inherently punitive in nature. See Demery v. Arpaio, 378 F.3d 1020, 1033 (9th Cir. 2004)

(concluding that placing webcams in pretrial detention center subjected detainees to punishment

in violation of due process); Houston v. Maricopa Cnty., 116 F.4th 935, 941 (9th Cir. 2024) (online

publication of pre-trial detainee mugshots constituted punishment in violation of due process).

Moreover, these allegations, intentionally trumpeted by Defendants, expose detainees to a real risk




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of harm if they are returned to their home countries, and thus serve to deter future migrants who

fear placing themselves at similar risk of harm.

       Multiple courts have held that detaining people to send a message of deterrence and to

encourage self-deportation are impermissible purposes in the civil context, not rationally related

to any non-penological goal. In R.I.L.-R v. Johnson, the court struck down a detention policy on

due process grounds, explaining that the “justification urged by the Government”—“namely

deterrence of mass migration”—was “unprecedented.” 80 F. Supp. 3d 164, 188 (D.D.C. 2015).

This lack of connection between the nature of that interest (deterrence of others) and the

characteristics inherent to the detained person (e.g., whether the individual posed a flight risk or

danger), was “out of line with analogous Supreme Court decisions.” Id. at 188–89.

       For similar reasons, the court in Aracely R., concluded that the government’s policy of

considering immigration deterrence when making parole decisions violated the agency’s own

directive because “[i]mmigration deterrence, which is directed at third parties[,] . . . does not relate

to an individual parole applicant’s flight risk or danger to the community.” 319 F. Supp. 3d at 153.

Likewise, a policy of detaining parents away from their children—leading to indefinite family

separation—in order to “deter[] immigration” of other migrant families serves no “compelling or

legitimate government objective.” Jacinto-Castanon de Nolasco v. U.S.I.C.E., 319 F. Supp. 3d 491,

502 (D.D.C. 2018). And a policy of intimidation and pressure that “is designed to free-up scarce

detention space” fares no better. Orantes-Hernandez v. Meese, 685 F. Supp. 1488, 1505 (C.D. Cal.

1988), aff’d sub nom. Orantes-Hernandez v. Thornburgh, 919 F.2d 549 (9th Cir. 1990); see also

Perez-Funez v. District Director, 619 F. Supp. 656, 656–57, 669 (C.D. Cal. 1985) (policy of

intimidating unaccompanied minors into accepting voluntary departure violated due process).




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         In sum, Defendants have justified their detention of immigrants at one of the world’s most

notorious prison sites to frighten immigrants, deter migration, induce self-deportation, and coerce

deportation to dangerous third countries. These are not legitimate grounds for civil detention and

thus violate due process.

                iii.   The Conditions at Guantánamo Are Excessive and Punitive.

         In addition to the lack of a legitimate motive to send detainees to Guantánamo, the

government has subjected immigrant detainees held at Guantánamo to punitive conditions in

violation of their due process rights as civil detainees. Civil immigrant detainees “are entitled to

more considerate treatment and conditions of confinement than criminals whose conditions of

confinement are designed to punish.” Youngberg v. Romeo, 457 U.S. 307, 322 (1982); C.G.B. v.

Wolf, 464 F. Supp. 3d 174, 210 (D.D.C. 2020) (“Because civil immigration detainees . . . have not

been convicted of any present crime, they may not be subjected to punishment of any description.”)

(citation and quotation marks omitted); D.A.M. v. Barr, 474 F. Supp. 3d. 45, 63 (D.D.C. 2020)

(same). But the individuals detained at Guantánamo have been subjected to conditions that are

much worse than those at ICE detention facilities in the United States and indeed, those for

prisoners serving criminal sentences.

         Maximum Security Conditions. The day-to-day experience of detention in Camp 6 is

similar to or more restrictive than criminal detention at a high-security prison. See generally

Castillo Decl. ¶¶ 6–17; Alviares Armas Decl. ¶¶ 6–8; Simancas Rodriguez Decl. ¶¶ 5–12; Garcia

Decl. ¶ 15; Gomez Lugo Decl. ¶¶ 4, 6, 8; see also DOD Rapid Response, X.com (Feb. 26, 2025

4:53 PM PT) (quoting Secretary Hegseth as saying: “No you’re not gonna have universal freedom

at Guantanamo Bay. It’s a prison”). 37 Individuals detained on the military side of the base are held



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in windowless individual cells as small as two-by-four meters for at least 23 hours per day, usually

much more. See Castillo Decl. ¶¶ 6, 8; Alviares Armas Decl. ¶¶ 8–9; Simancas Rodriguez Decl.

¶¶ 5; Gomez Lugo Decl. ¶ 8; Escalona Decl. ¶ 5. Prison guards lock detainees each in a small cage

within a larger cage in an enclosed yard for recreation, and recreation is only permitted at most

once a day for a brief period. See Castillo Decl. ¶¶ 6, 8; Alviares Armas Decl. ¶¶ 8; Simancas

Rodriguez Decl. ¶ 5; Gomez Lugo Decl. ¶ 8; Escalona Decl. ¶ 5; see also Silvia Foster-Frau &

Ana Vanessa Herrero, Invasive Frisks, Suicide Attempts: Three Migrants Describe Guantanamo

Detention, Wash. Post (Feb. 25, 2025) (detainees permitted outside once per week in open-air

cages). 38 Otherwise, detainees are held in total isolation, unable to see the sun and unable to

communicate with one another. Castillo Decl. ¶ 8; Alviares Armas Decl. ¶ 9; Gomez Lugo Decl. ¶

8; Escalona Decl. ¶ 6; see also Foster-Frau, Invasive Frisks (detainee held in windowless cell).

When permitted to leave their cells for showers or recreation, detainees are subject to a pat-down

(or even more invasive) search, shackled and escorted at all times. Castillo Decl. ¶ 8; Alviares

Armas Decl. ¶ 9-10; Simancas Rodriguez Decl. ¶ 5; Gomez Lugo Decl. ¶ 8. Inside their cells,

detainees sleep on thin mattresses and receive inadequate and often inedible food. Castillo Decl. ¶

6–7; Alviares Armas Decl. ¶ 8, 12; Simancas Rodriguez Decl. ¶ 8. Some detainees have lost

between 10 and 20 pounds while imprisoned. Castillo Decl. ¶ 6–7; Alviares Armas Decl. ¶ 8, 12;

Simancas Rodriguez Decl. ¶ 8; see also Healy, ‘Give us back our sons’: A look at the Venezuelan

migrants Trump sent to Guantanamo, supra n.10.

          The   government    is   detaining    immigrants   at   Guantánamo    under    conditions

indistinguishable from—or worse than—a high-security prison. Castillo Decl. ¶¶ 6–17; Alviares

Armas Decl. ¶¶ 6–19; Simancas Rodriguez Decl. ¶¶ 5–12; Gomez Lugo Decl. ¶¶ 4, 8; Garcia Decl.



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¶ 15; Escalona Decl. ¶ 11. Prisoners at federal maximum-security prisons, like Camp 6 detainees,

are largely prohibited from communicating with one another, spend most of their time in tiny cells

with the lights always on, are shackled and escorted by guards every time they leave their cells,

and receive only a few hours of recreation time in an outdoor cage per week. Wilkinson v. Austin,

545 U.S. 209, 214–15 (2005) (describing conditions at federal supermax prisons); see also Juan

Hernandez, My Journey From a Maximum to Medium Security Prison, Prison Journalism Project

(Oct. 10, 2023). 39

         Even the detainees held at the MOC, a purportedly “low-security” facility, face similarly

punitive conditions. For instance, detainees are not allowed to leave their cells except for at most

15-20 minutes of recreation in the evening. Sequera Decl. ¶ 5; Garcia Decl. ¶ 11. This extremely

limited recreation opportunity is worse than that provided in either federal criminal or ICE

detention. See 28 C.F.R. § 551.115 (requiring a minimum of one hour daily outside recreation or

two hours daily of indoor recreation in BOP facilities); Immigr. & Customs Enf’t, Performance

Based National Detention Standards (“PBNDS”) § 29 (2008) (requiring at least one hour of daily

physical exercise outside the cell in ICE detention). 40 Moreover, during the little time they are

allowed outside of the room, people held in the MOC are always escorted and generally almost

always shackled or invasively searched. Sequera Decl. ¶ 6; Garcia Decl. ¶ 12.

         Degrading Treatment. Detainees at both the MOC and Camp 6 are subject to degrading

and abusive treatment. At Camp 6, guards strip search detainees upon leaving and returning to

their solitary cells, including opening up their backside and genitals. Foster-Frau, Invasive Frisks,

supra p. 29. Guards also watch detainees as they use the restroom or shower. Id.; Escalona Decl.




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¶ 4; Healy, ‘Give us back our sons,’ supra n.10. Detainees at the MOC were constantly strip

searched. Garcia Decl. ¶ 12. Guards reportedly stripped one detainee at Camp 6 of all clothes

except his underwear before forcing him to sleep without a mattress or blanket. Escalona Decl. ¶

4; Martínez-Beltrán, Venezuelan men allege mistreatment while in detention in Guantánamo Bay,

supra n.9; see Bell, 441 U.S. at 559 (strip searches unlawful if unreasonable in scope, manner,

justification, and place); Harris v. Ostrout, 65 F.3d 912, 916 (11th Cir. 1995) (if strip searches ”are

devoid of penological merit and imposed simply to inflict pain, the federal courts should

intervene”); Morgan v. Ward, 669 F. Supp. 1025, 1051–54 (N.D.N.Y. 1988) (strip searches of

prisoners in segregation before leaving cell violates Fourth Amendment).

       Detainees at both facilities have endured insults and taunting by guards. Detainees who

speak out about their treatment are forcefully tackled and restrained to a chair—nicknamed the

“punishment chair”—for several hours. Alviares Armas Decl. ¶ 15; Simancas Rodriguez Decl. ¶

7. Detainees are subject to physical beatings, including one instance where an officer slammed a

radio against a detainee’s hand, fracturing it. Castillo Decl. ¶ 13; Alviares Armas Decl. ¶ 14;

Martínez-Beltrán, Venezuelan men allege mistreatment while in detention in Guantánamo Bay,

supra n.9 (describing beatings). Kingsley v. Hendrickson, 576 U.S. 389 (2015) (objectively

unreasonable use of force is unconstitutional punishment); C.G.B., 464 F. Supp. at 211 (applying

Kingsley standard to immigrant detainees); Van Colln v. Cnty. of Ventura, 189 F.R.D. 583, 595-97

(C.D. Cal. 1999) (placing detainees in restraint for resistance and “bad attitude” is punitive).

Guards even withhold water to punish individuals. Alviares Armas Decl. ¶ 13; Castillo Decl. ¶ 13.

       Detainees have endured these abusive conditions with no information of how much longer

their detention would go on. Escalona Decl. ¶ 8; Garcia Decl. ¶ 15; see Martínez-Beltrán,

Venezuelan men allege mistreatment while in detention in Guantánamo Bay, supra n.9 (“I thought



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I was going to stay in Guantánamo forever.”). Indeed, the conditions at Guantánamo are so

degrading that detainees have gone on hunger strikes, and several detainees have even attempted

suicide. Simancas Rodriguez Decl. ¶ 10; Alviares Armas Decl. ¶¶ 12–13; Garcia Decl. ¶ 14; Gomez

Lugo Decl. ¶ 5; see Foster-Frau, Invasive Frisks, supra p. 29 (at least three men acknowledged

trying to end their own lives); Martínez-Beltrán, Venezuelan men allege mistreatment while in

detention in Guantánamo Bay, supra n.9 (“mistreatment by detention officers got so bad” that

detainee attempted suicide).

         Punitive Communications Restrictions. Immigrants detained at both the MOC and Camp

6 lack not only the protections that they would receive in ICE detention in the United States, but

those provided to convicted prisoners in U.S. federal criminal custody. For example, immigrants

detained at Guantánamo have no contact whatsoever with friends or family in the outside world,

either in person or via telephone. See Castillo Decl. ¶ 14 (“I also begged the officers to speak to

my family. My wife lives in the United States with our 9 year old son . . . All they say is that it is

not possible to make calls.”); Lugo Decl. ¶ 6 (“To my knowledge, there is no way to talk to . . .

family or anyone outside.”); Sequera Decl. ¶ 8 (“I asked to speak to my family but was told it was

not possible.”); see also Foster-Frau, Invasive Frisks, supra p. 29 (detainees denied calls to loved

ones after repeated pleas). This is in stark contrast to their time in ICE detention, where detainees

regularly communicated with their families. See Escalona Decl. ¶ 7 (“I have had weekly, in-person

visits with [ ] daughter”); Gomez Lugo Decl. ¶ 8 (spoke with family every 2-3 days); see also

PBNDS § 31 (guaranteeing “reasonable and equitable access to telephones during established

facility “waking hours”). 41




41
     Available at https://perma.cc/X7CG-WVWF.
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         The government must provide prisoners serving criminal sentences with “telephone

access” and the ability to “communicate with family and friends,” subject to reasonable limitations.

Johnson v. California, 207 F.3d 650, 656 (9th Cir. 2000); Washington v. Reno, 35 F.3d 1093, 1100

(6th Cir. 1994). Even BOP “encourages visiting by family, friends, and community groups” by

mandating visiting hours on Saturdays, Sundays, and holidays. 28 C.F.R. §§ 540.40, 540.42. Such

visits are not permitted at Guantánamo. ECF No. 14-3, ¶ 29.

         Inadequate Counsel Access. Similarly, at Guantánamo, contact with attorneys is

extremely limited and does not include in-person visitation. See ECF No. 14-3, ¶ 29; see supra pp.

7–8. This is indisputably worse than the legal access provided in either ICE detention facilities or

federal prisons. See PBNDS § 32.J., at 8, 11 (requiring ICE facilities to provide in-person legal

visitation seven days a week and private consultation rooms for legal meetings)42; 28 C.F.R.

§ 543.13(a)-(b) (prohibiting BOP from limiting the frequency of attorney visits and guaranteeing

a “private conference room, if available” for attorney visits). Even military detainees at

Guantánamo are entitled to in-person visits with attorneys. In re Guantanamo Bay Detainee

Continued Access to Couns., 892 F. Supp. 2d 8, 14 (D.D.C. 2012).

         Lack of Basic Necessities and Medical Care. Nor do detainees have adequate access to

basic necessities and medical care. As discussed above, people detained at Guantánamo are not

fed enough food, are deprived of water as punishment for expressing suicidal ideations, are subject

to extreme temperatures, and are in unhygienic conditions, like showers just every couple of days

and no change of clothing. See supra p. 6. The constant lights also prevent them from sleeping. Id.

         Officers fail to provide even the most basic treatment for serious medical conditions. One

detainee, who had a preexisting leg injury causing extreme pain and had previously been advised



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     Available at https://perma.cc/BWY8-VD85.
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he would need surgery, repeatedly sought medical attention. Castillo Decl. ¶ 11. He was told that

there was nothing medical personnel could do for him because the base “did not have the right

tools and were waiting for them.” Id. Another individual who had been tested for a brain tumor

while detained in the United States received no treatment other than being fed sleeping pills.

Simancas Rodriguez Decl. ¶ 9; see Estelle v. Gamble, 429 U.S. 97, 104 (1976) (government has

obligation to provide medical care for incarcerated individuals); Baker v. Dist. of Columbia, 326

F.3d 1302, 1306 (D.C. Cir. 2003) (deliberate indifference to prisoner’s serious medical needs

violates Eighth Amendment); C.G.B. v. Wolf, 464 F. Supp. 3d 174, 211 n.3 (D.D.C. 2020)

(constitution requires government to ensure “reasonable safety” of civil immigration detainees).

       In short, conditions at Guantánamo for the immigration detainees transferred from the U.S.

are either comparable to, or measurably worse than, those for people serving criminal sentences at

Bureau of Prisons facilities. And transferring civil immigration detainees to Guantánamo and

subjecting them to such conditions cannot be justified by any legitimate detention or removal

objective. Cf. Wong Wing v. United States, 163 U.S. 228, 237 (1896) (holding that government can

detain noncitizens as part of removal process but due process is violated by subjecting immigration

detainees to punishment at hard labor).

II.    TRANSFER TO GUANTÁNAMO WOULD CAUSE PLAINTIFFS IRREPARABLE
       HARM.

       Plaintiffs are likely to suffer irreparable harm in the absence of emergency relief. “It has

long been established that the loss of constitutional freedoms, for even minimal periods of time,

unquestionably constitutes irreparable injury.” Mills v. Dist. of Columbia, 571 F.3d 1304, 1312

(D.C. Cir. 2009) (citations omitted); see also Americans for Immigrant Just. v. U.S. Dep’t of

Homeland Sec., No. CV 22-3118 (CKK), 2023 WL 1438376, at *20 (D.D.C. Feb. 1, 2023)

(“Because Plaintiff FIRRP has demonstrated a likelihood of success on the merits of its punitive-

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detention claim, it has shown irreparable injury. The Court need dwell no further on the question.”

(citations omitted)). As detailed above, the government has violated the Plaintiffs’ constitutional

rights. See supra pp. 21–34. This harm is irreparable.

         The government will also irreparably harm the people it sends to Guantánamo by

subjecting them to harsh detention conditions. These conditions, detailed above, include solitary

confinement, deprivation of basic necessities, abusive and degrading treatment, and serious

limitations on communications with counsel or family. Supra pp. 4–9. These conditions constitute

irreparable harm. Al-Joudi v. Bush, 406 F. Supp. 2d 13, 20 (D.D.C. 2005) (finding harsh conditions

at Guantánamo that forced detainees to go on hunger strikes amounted to irreparable harm);

Americans for Immigrant Just., 2023 WL 1438376, at *20 (finding irreparable harm satisfied for

claims involving a lack of access to counsel); Johnson v. Wetzel, 209 F. Supp. 3d 766, 781 (M.D.

Pa. 2016) (finding prolonged solitary confinement to cause irreparable harm). This is already

apparent among the group of people who have shared their experiences at Guantánamo, several of

whom attempted suicide. Supra pp. 5, 8.

         Plaintiffs would face further irreparable harm if transferred to Guantánamo because the

government has falsely painted those at Guantánamo as “murderers, rapists, child predators and

gangsters” 43—putting them at risk of negative consequences if they are returned to their home

country. Simancas Rodriguez Decl. ¶ 13; Alviares Armas Decl. ¶ 19. This harm is irreparable: once

these falsehoods about Plaintiffs are made public, they “could not be made secret again.”

Ruckelshaus v. Monsanto Co., 463 U.S. 1315, 1317 (1983) (Blackmun, J., denying application for

stay); Senior Executives Ass’n v. United States, 891 F. Supp. 2d 745, 755 (D. Md. 2012)

(recognizing that disclosure of information “is a bell that one cannot unring”); see also Leiva-Perez



43
     Sec’y Kristi Noem, X.com (Feb. 9, 2025, 12:12 PM), https://perma.cc/M6ZP-ARP8.
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v. Holder, 640 F.3d 962, 969 (9th Cir. 2011) (holding that removal to a country where one faces

harm constitutes irreparable injury).

III.   THE BALANCE OF EQUITIES AND PUBLIC INTEREST WEIGH HEAVILY IN
       PLAINTIFFS’ FAVOR.

       The balance of equities and the public interest merge in cases against the government. See

Pursuing Am.’s Greatness v. FEC, 831 F.3d 500, 511 (D.C. Cir. 2016) (citations omitted). Where—

as here—the challenged governmental conduct deprives Plaintiffs of their constitutional rights and

subjects them to irreparable harm, both factors tip in Plaintiffs’ favor. “It is always in the public

interest to prevent the violation of a party’s constitutional rights.” Americans for Immigrant Just.,

2023 WL 1438376, at *20 (quotation marks and citations omitted); see also Melendres v. Arpaio,

695 F.3d 990, 1002 (9th Cir. 2012) (same) (citations omitted).

       Additionally, the facts of this case demonstrate that both factors sharply favor a preliminary

injunction. The public—and therefore the government—has an interest in protecting the rights of

people in detention and ensuring the rule of law. See Nunez v. Boldin, 537 F. Supp. 578, 587 (S.D.

Tex. 1982) (such protection “goes to the very heart of the principles and moral precepts upon which

this country and its Constitution were founded”); Torres v. U.S. Dep’t of Homeland Sec., 2020 WL

3124216, at *9 (C.D. Cal. Apr. 11, 2020) (“[T]he public has an interest in the orderly administration

of justice . . . .”). Plaintiffs seek to prevent the government from holding them without access to

counsel or the outside world, which in turn will further the public interest in shedding light on

conditions at Guantánamo and preventing more abuses. E.g., Americans for Immigrant Just., 2023

WL 1438376, at *20 (recognizing public interest in access to counsel to pursue “release from civil

detention on medical grounds”).

       The relief sought poses no undue burden for the government. To the contrary, the

government’s proposed course of transferring immigrants to Guantánamo and holding them there


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requires an enormous and unnecessary expenditure of public resources. Supra pp. 9–10, 18–19,

22.

                                        CONCLUSION

       For the reasons stated above, the Court should grant Plaintiffs’ emergency motion and (1)

immediately prohibit their transfer to Guantánamo pending the adjudication of this motion, and

(2) issue a permanent stay pending the outcome of this case.




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Dated: March 1, 2025                      Respectfully submitted,

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